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                   UNITED STATES DISTRICT COURT
                       DISTRICT OF MINNESOTA
_____________________________________

 MILDRED BALDWIN and RONALD
 STRUCKOFF, on behalf of themselves and              Case No. 20-cv-1502 (JRT/HB)
 other similarly situated,

                   Plaintiffs
                                                     ORDER ON STIPULATION
 vs.                                             GRANTING PLAINTIFFS LEAVE TO
                                                   FILE AMENDED COMPLAINT
 MIRACLE-EAR, INC.

                 Defendant/Third-Party
 Plaintiff

 vs.

 LAS DAVIS ENTERPRISES, INC.;
 HEARINGPRO, INC.; and TIFFANY
 DAVIS

                 Third-Party Defendants.



       Pursuant to the Stipulation Granting Plaintiffs Leave to File Amended Complaint of

Plaintiffs Mildred Baldwin and Ronald Struckhoff, Defendant Miracle-Ear, Inc. (“Miracle-

Ear”) and the Third-Party Defendants Las Davis Enterprises, Inc., HearingPro, Inc.

(“HearingPro”) and Tiffany Davis [ECF No. 71],

       IT IS HEREBY ORDERED that:

       1.       Plaintiffs shall have leave to file a First Amended Complaint in the above-

captioned action in the form attached to the Parties’ stipulation.
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      2.      Miracle-Ear and HearingPro are not deemed to have accepted or agreed to

the allegations or claims asserted in the First Amended Complaint, and Miracle-Ear and

HearingPro are not deemed to have waived any rights, recourses, and defenses with respect

to Plaintiffs’ First Amended Complaint and the claims and allegations asserted therein.

      3.      The current Pretrial Scheduling Order, [ECF No. 61], remains in effect.




Dated: March 1, 2021.                    s/Hildy Bowbeer______________________
                                         HILDY BOWBEER
                                         United States Magistrate Judge




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